Response to question propounded by Senate.
Question propounded by the Senate to the Justices of the Supreme Court, under Code 1923, § 10290.
Question answered.
                           Senate Resolution.
S.R. 44 (By Mr. Fletcher.)
Whereas, there is now pending in the Senate, S.B. 27, which materially affects the revenue of the State, and there is serious doubt as to its constitutionality:
Therefore, Be it resolved by the Senate that the Justices of the Supreme Court of Alabama, or a majority thereof, are hereby requested to render to this body their written opinion, as provided under section 10290 of the Code of Alabama, as to whether said Act, a copy of which is hereto attached, Marked Exhibit A, and made a part hereof, offends or is in conflict with that part of section 70 of the Constitution which provides, "All bills for raising revenue shall originate in the House of Representatives," giving consideration to the case of Perry County v. Selma, M.  M. R. Co., reported in 58th Alabama, at page 546, construing a similar bill.
Adopted April 3, 1936.
The title of Senate Bill 27 is, "A Bill to be entitled an Act To amend section 344 sub-section (a) of Article 10 of an Act entitled 'An Act to provide for the general revenue of the State of Alabama,' approved July 10, 1935."
                                Response.
To the Honorable the Senate of Alabama:
Replying to your inquiry as to whether or not Senate Bill 27, a copy of which is thereto attached, violates section 70 of the Constitution of 1901:
We beg leave to inform you that the same being a revenue measure must originate in the House. Perry County v. Selma, Marion  Memphis Railroad Company, 58 Ala. 546.
True, the said bill seeks to amend an existing revenue act, but the right of the Senate to propose amendments to revenue measures applies to pending bills which originated in the House and not to such measures after they have been enacted. It is our opinion that the bill violates section 70 of the Constitution.
Respectfully,
                          JNO. C. ANDERSON, Chief Justice.
                          LUCIEN D. GARDNER, WILLIAM H. THOMAS, VIRGIL BOULDIN, JOEL B. BROWN, ARTHUR B. FOSTER, THOMAS E. KNIGHT, Associate Justices.